Case 2:21-cv-00225-JRG-RSP Document 177 Filed 06/13/22 Page 1 of 3 PageID #: 4890




                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     MARSHALL DIVISION

 BRIGHT DATA LTD.                                  §
                                                   §
                        Plaintiff,                 §    CIVIL ACTION NO. 2:21-cv-00225-
                                                   §    JRG-RSP
                v.                                 §
                                                   §
 NETNUT LTD.                                       §    JURY TRIAL DEMANDED
                                                   §
                        Defendant.                 §
                                                   §
                                                   §

     DEFENDANT NETNUT LTD.’S OPPOSITION TO PLAINTIFF BRIGHT DATA’S
   MOTION FOR HEARING TO RESOLVE BRIGHT DATA’S PENDING MOTION FOR
    CORRECTIVE ACTIONS AND SANCTIONS FOR VIOLATION OF PROTECTIVE
               ORDER AND ABUSE OF SETTLEMENT PROCESS

        Defendant NetNut Ltd. (“NetNut”) respectfully opposes Plaintiff Bright Data Ltd.’s (“Bright

 Data”) request for a hearing (Dkt. 172) because no hearing is required to determine that all of Bright

 Data’s erroneous arguments are

                         . The parties signed a settlement agreement



                        All of Bright Data’s arguments—each unfounded and incorrect—

                                          Rather than dispute this, Bright Data attempts to sidestep its

 agreement with NetNut

      Bright Data’s hostile machinations against NetNut should not be condoned, and instead the

 parties’ mutually negotiated settlement agreement should be honored. NetNut respectfully submits

 that the burden and cost of a hearing, for the Court and the parties, are not required to resolve Bright

 Data’s meritless motion.




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Case 2:21-cv-00225-JRG-RSP Document 177 Filed 06/13/22 Page 2 of 3 PageID #: 4891




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Case 2:21-cv-00225-JRG-RSP Document 177 Filed 06/13/22 Page 3 of 3 PageID #: 4892




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on June 8, 2022, a true and correct copy of the foregoing document

 was electronically filed in compliance with Local Rule CV-5(a) and was served on all counsel who

 are deemed to have consented to electronic service, per Local Rule CV-5(a)(3).




                                                       /s/ Eric H. Findlay
                                                       Eric H. Findlay




                                                 3
